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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

LEROY L BAINES JR Case No: 6:24-cv-00753-JSS-LHP

Plaintiff, COMPLAINT

Vs.
FIRSTSOURCE ADVANTAGE LLC

Defendant.
Jury Trial: &l Yes LO No

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NOTICE OF DISMISSAL

Plaintiff, LEROY L BAINES JR, pursuant to Rule 41(a)(1)(A)(i), hereby dismisses with
prejudice all claims and causes of action asserted against defendants FIRSTSOURCE
ADVANTAGE LLC, in the above numbered captioned action, with each party to bear its

own cost.

Date: lis 2020

Lero§JL Baines Jr

303 Cello Cir

Winter Springs FL 32708
Bainesleroy85@gmail.com

COMPLAINT FOR A CIVIL CASE - |

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